

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NOS. WR-68,828-01; WR-68,828-02; 

WR-68,828-03; WR-68,828-04 &amp; WR-68,828-05





EX PARTE KENNETH M. MYERS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. W03-73971-I(A), W03-73970-I(A), 


W03-73969-I(A), W03-73946-I(A) &amp; W01-46466-I(A) 

IN CRIMINAL DISTRICT COURT NO. 2

FROM DALLAS COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court these applications for writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of five charges of obtaining a
controlled substance through fraud and sentenced to five terms of three years' imprisonment. 

	Applicant contends that he was denied adequate notice that he would be considered for release
on mandatory supervision by the Texas Board of Pardons and Paroles under the discretionary mandatory-supervision statute, Tex. Code Crim. Proc. art. 42.18, § 8(c).  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court may
use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to
represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was afforded adequate notice
that he would be considered for release on mandatory supervision by the Texas Board of Pardons and
Paroles under the discretionary mandatory-supervision statute.  Ex parte Retzlaff, 135 S.W.3d 45 (Tex.
Crim. App. 2004).  The trial court shall also make any other findings of fact and conclusions of law that
it deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	These applications will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the order
granting the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 

Filed: December 19, 2007

Do not publish


